         Case 1:19-cr-02032-SMJ     ECF No. 165   filed 04/13/20   PageID.785 Page 1 of 7



                                                                              FILED IN THE
1                                                                         U.S. DISTRICT COURT
                                                                    EASTERN DISTRICT OF WASHINGTON



2                                                                    Apr 13, 2020
                                                                         SEAN F. MCAVOY, CLERK

3                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WASHINGTON
4
     UNITED STATES OF AMERICA,                    No.    1:19-cr-02032-SMJ-01
5                                                        1:19-cr-02032-SMJ-02
                                  Plaintiff,
6                                                 ORDER GRANTING IN PART
                    v.                            DEFENDANT DONOVAN QUINN
7                                                 CARTER CLOUD’S (02) MOTION
     JAMES DEAN CLOUD (01) and                    TO CONTINUE PRETRIAL
8    DONOVAN QUINN CARTER                         CONFERENCE, TRIAL DATE,
     CLOUD (02),                                  AND CASE MANAGEMENT
9                                                 DEADLINES
                                  Defendants.
10                                                AMENDED1 CASE
                                                  MANAGEMENT ORDER
11
              Before the Court, without oral argument, is Defendant Donovan Quinn Carter
12
     Cloud (02)’s Motion to Continue Pretrial Conference and Trial Dates and Extend
13
     Deadlines, ECF No. 144, and Supplement to Motion to Continue Pretrial
14
     Conference and Trial Dates and Extend Deadlines [ECF 144], ECF No. 163.
15
     Defense counsel Richard A. Smith and Mark A. Larranga request a continuance of
16
     the pretrial motions filing deadline, the pretrial conference, and the trial, to allow
17
     more time to examine discovery, prepare any related motions, and prepare for trial.
18

19
     1
         This Order amends and supersedes in part the Court’s most recent October 4, 2019
20
     Case Management Order, ECF No. 117.



     AMENDED CASE MANAGEMENT ORDER – 1
      Case 1:19-cr-02032-SMJ      ECF No. 165    filed 04/13/20   PageID.786 Page 2 of 7




1    Additionally, defense counsel indicate additional time is needed in light of

2    disruptions caused by the outbreak of the Coronavirus Disease 2019 (COVID-19)

3    and the recently-declared national emergency. Id. at 3–4. Defendant Cloud (02)

4    supports counsel’s request for a trial continuance for the articulated reasons. ECF

5    No. 164. Defendant Cloud (01) has not taken a position regarding Defendant

6    Cloud’s (02) request for a continuance. ECF No. 163 at 5. Assistant U.S. Attorney

7    Richard C. Burson and Thomas J. Hanlon, appearing on behalf of the Government,

8    do not oppose the request. ECF No. 144 & 163.

9          The Second Superseding Indictment against Defendants (01) and (02) was

10   filed on February 11, 2020. ECF No. 132. Defense counsel Richard A. Smith

11   appeared for Defendant Cloud (02) on February 13, 2020. ECF No. 142. Lorinda

12   M. Youngcourt and Jeremy B. Sporn appeared for Defendant Cloud (01) on

13   February 12, 2020. ECF No. 140. This is Defendant Cloud’s (02) second request

14   for a continuance. This is the third overall request for a continuance in this matter.

15         To ensure defense counsel is afforded adequate time to review discovery,

16   prepare any pretrial motions, conduct investigation, and prepare for trial, the Court

17   grants the motion, extends the pretrial motion deadline, and resets the currently-

18   scheduled pretrial conference and trial dates. The Court finds that Defendant

19   Cloud’s (02) continuance request is knowing, intelligent, and voluntary, and that

20   the ends of justice served by granting a continuance outweigh the best interest of




     AMENDED CASE MANAGEMENT ORDER – 2
      Case 1:19-cr-02032-SMJ      ECF No. 165    filed 04/13/20   PageID.787 Page 3 of 7




1    the public and Defendants in a speedy trial. The delay resulting from Defendant

2    Cloud’s (02) motion is therefore excluded under the Speedy Trial Act.

3           Counsel are advised that successive continuance requests will be closely

4    scrutinized for the necessity of more time to effectively prepare, taking into account

5    the exercise of due diligence. Furthermore, to ensure this matter is resolved in an

6    expeditious manner, and given the length of the continuance now granted, the Court

7    considers it appropriate to schedule intermediate status conferences. At these

8    conferences the parties should appear and be prepared to discuss the status of the

9    case, trial preparation, anticipated motions, and any other matter that may affect

10   trial readiness.

11          Having considered the parties’ proposed case schedule and deadlines, the

12   Court now enters the following Amended Case Management Order, which sets forth

13   the deadlines, hearings, and requirements the parties will observe in this matter. To

14   the extent this Order conflicts with any previously entered Orders in this matter, this

15   Order shall govern. All counsel are expected to carefully read and abide by this

16   Order and such provisions of the current CMO which have not been superseded

17   hereby. The Court will grant relief from the requirements in this Order only upon

18   motion and good cause shown.

19          Accordingly, IT IS HEREBY ORDERED:

20          1.     Defendant Cloud’s (02) Motion to Continue Pretrial Conference and




     AMENDED CASE MANAGEMENT ORDER – 3
      Case 1:19-cr-02032-SMJ   ECF No. 165    filed 04/13/20   PageID.788 Page 4 of 7




1               Trial Dates and Extend Deadlines, ECF No. 144, and Supplement to

2               Motion to Continue Pretrial Conference and Trial Dates and Extend

3               Deadlines, ECF No. 163, are GRANTED IN PART and DENIED

4               IN PART.

5         2.    The Court finds, given defense counsel’s need for time to review

6               discovery, prepare any pretrial motions, conduct investigation, and

7               prepare for trial, that failing to grant a continuance would result in a

8               miscarriage of justice and would deny defense counsel the reasonable

9               time necessary for effective preparation, taking into account the

10              exercise of due diligence. See 18 U.S.C. § 3161(h)(7)(B)(i), (iv). The

11              Court, therefore, finds the ends of justice served by granting a

12              continuance in this matter outweigh the best interest of the public and

13              Defendant in a speedy trial. See 18 U.S.C. § 3161(h)(7)(A).

14        3.    Original CMO. Counsel must review the provisions of the original

15              July 8, 2019 CMO, ECF No. 45, and June 18, 2019, ECF No. 31 and

16              abide by those procedures which remain in full force and effect and are

17              incorporated herein except for the new compliance deadlines in the

18              following Summary of Amended Deadlines.

19        4.    Pretrial Conference

20              A.    The current pretrial conference date of April 21, 2020 is




     AMENDED CASE MANAGEMENT ORDER – 4
      Case 1:19-cr-02032-SMJ   ECF No. 165    filed 04/13/20   PageID.789 Page 5 of 7




1                     STRICKEN and RESET to December 15, 2020 at 9:00 A.M.

2                     in YAKIMA. At this hearing, the Court will hear ALL pretrial

3                     motions that are noted for oral argument.

4               B.    All Pretrial Conferences are scheduled to last no more than

5                     thirty (30) minutes, with each side allotted fifteen (15)

6                     minutes to present their own motions and resist motions by

7                     opposing counsel. If any party anticipates requiring longer than

8                     fifteen minutes, that party must notify the Courtroom Deputy at

9                     least seven (7) days prior to the hearing. Any party who fails

10                    to provide this notice will be limited to fifteen (15) minutes.

11        5.    Trial. The current trial date of April 27, 2020 is STRICKEN and

12              RESET to January 19, 2021, at 9:00 A.M. in YAKIMA. The final

13              pretrial conference will begin at 8:30 A.M.

14        6.    Pursuant to 18 U.S.C. § 3161(h)(7)(B)(i) and (iv), the Court

15              DECLARES EXCLUDABLE from Speedy Trial Act calculations

16              the period from February 18, 2020, the date defense counsel moved

17              to continue, through January 19, 2021, the new trial date, as the period

18              of delay granted for adequate preparation by counsel.

19        7.    Summary of Deadlines

20    Status Conference:                                          June 23, 2020
                                                               9:00 A.M. - Yakima


     AMENDED CASE MANAGEMENT ORDER – 5
          Case 1:19-cr-02032-SMJ    ECF No. 165     filed 04/13/20    PageID.790 Page 6 of 7




1                                                                       August 25, 2020
          Status Conference:
                                                                     10:30 A.M. - Yakima
2                                                                      October 27, 2020
          Status Conference:
                                                                      9:00 A.M. - Yakima
3         Disclose all discovery                                       October 15, 2020
          Alibi Notices                                                October 15, 2020
4
          Rule 404 (b) and 609 Notices                                 October 15, 2020
5         Rule 16 expert summaries (both parties)                      October 22, 2020
          All pretrial motions, including discovery
6         motions, Daubert motions, and motions in                    November 24, 2020
          limine, filed
7         PRETRIAL CONFERENCE                                         December 15, 2020
          Deadline for motions to continue trial                     9:00 A.M. - YAKIMA
8         CIs’ identities and willingness to be interviewed
                                                                       January 5, 2021
          disclosed to Defendants (if applicable)
9         Grand jury transcripts produced to Defendants
                         Case Agent:                                   January 5, 2021
10                       CIs:                                          January 5, 2021
                         Other Witnesses:                              January 5, 2021
11        Exhibit lists filed and emailed to the Court                January 12, 2021
          Witness lists filed and emailed to the Court                January 12, 2021
12
          Trial briefs, jury instructions, verdict forms, and
                                                                       January 9, 2021
          requested voir dire filed and emailed to the Court
13
          Exhibit binders delivered to all parties and to the
                                                                       January 9, 2021
14        Court
          Delivery of JERS-compatible digital evidence
                                                                       January 9, 2021
15        files to the Courtroom Deputy
          Trial notices filed with the Court                           January 9, 2021
16

17   //

18   //

19   //

20   //



     AMENDED CASE MANAGEMENT ORDER – 6
      Case 1:19-cr-02032-SMJ   ECF No. 165   filed 04/13/20    PageID.791 Page 7 of 7




1     Technology readiness meeting (in-person)                  January 12, 2021
                                                                January 19, 2021
2     JURY TRIAL
                                                              9:00 A.M. - YAKIMA

3          IT IS SO ORDERED. The Clerk’s Office is directed to enter this Order and

4    provide copies to all counsel, the U.S. Probation Office, and the U.S. Marshals

5    Service.

6          DATED this 13th day of April 2020.

7
                       __________________________
8                      SALVADOR MENDOZA, JR.
                       United States District Judge
9

10

11

12

13

14

15

16

17

18

19

20



     AMENDED CASE MANAGEMENT ORDER – 7
